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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                December 06, 2024
                   IN THE UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

 UNITED STATES OF AMERICA                     §
                                              §
 V.                                           §         Case No. 4:24-cr-00224
                                              §
 ENRIQUE ROBERTO “HENRY”                      §
 CUELLAR and IMELDA RIOS                      §
 CUELLAR                                      §


                                        ORDER

         The defendants and the government have filed an Unopposed Motion for

Continuance in which they have agreed and stipulated to the following schedule. The

docket control order is amended as follows:


        Motions are to be filed by:               May 9, 2025
        Responses are to be filed by:             June 9, 2025
        Replies are to be filed by:               June 27, 2025
        Motions in Limine are to be filed by:     August 22, 2025
        Copies of Government exhibits, witness lists and exhibit lists are
        to be provided by:                        August 22, 2025
        Copies of Defendants exhibits, witness lists and exhibit lists are
        to be provided by:                        September 5, 2025
        Interim Pretrial conference is set to:    May 2, 2025, at 8:45 a.m.
        Final Pretrial conference is reset to:    September 15, 2025, at 10:00 a.m.
        Jury trial and selection are reset to:    September 22, 2025 at 9:00 a.m.


        SIGNED ON December 6                      , 2024, at Houston, Texas.



                                                                  Lee H. Rosenthal
                                                             United States District Judge
